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Joseph Aruanno, # 363
Special Treatment Unit, South uS.b0
P.O. Box 905, Avenel, New Jersey 07001 9890'S |,

October 20, 2016

JOSEPH ARUANNO, Dist. Ct. No. Q4=3666 9 SND
District Court of New Jersey O\-' |
Consolidated with Bagarozy v. Harris

Sir:

As you know by the years of mailings, phone calls, etc.,
complaining of the lack of action and continuing civil
rights violations and crimes, such as, violence and
bloodshed, sexual assaults, etc., which you condoned to the
degree of accomplice, mainly Ian Marx, through numerque
contacts, such as a written contract by Ian Marx and years
of verbal promises, including the attached Affidavit by the
lead Plaintiff Bagarozy, beginning with your appointment
Since 2005 and then even more since the settlement during
2012, you promised to focus on the DOC issues and now where
in light of your total contempt we DEMAND that you remove
yourself from this case NOW! And that you submit the motion
for substitute counsel as you had stated.

In addition, the harm that has been caused to the
plaintiffs, a tangible injury is sustained by my family as
well.

Just as appalling, you take advantage of mentally
challenged plaintiff contacts, such as, J. Simons and
others, with years of promises which they believe in, which
as morally defective as it is ethically defective, which
has us contemplating ethics complaints against you as well
as a class-action lawsuit, among any and all other avenues
available to us.

In closing, I ask that you reply to both Bagarozy and
myself at the address above.

Please govern yourself accordingly.

QO. vee:

JOSEPH (|ARUANNO

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Richard Bagarozy
STU-Annex

P.O. 905 |

Avenel, NJ 07001

October 7, 2016
Re: Bagarozy, et al. v. Harris, et al.; 04 cv 3066
Alves/McGarry, et al. v. Ferguson, et al.; 01 cv 0789

Affidavit of Richard Bagarozy

|, Richard Bagarozy, being of age, sound mind, and duly sworn upon my oath, depose
and say:

| am a plaintiff in the above captioned matters and the lead plaintiff in Bagarozy vs.
Harris which had been joined to Alves vs. Ferguson against plaintiffs opposition.

A number of years ago, a settlement had been reached in Alves vs. Ferguson by
plaintifffs in that action (Mr. Alves, Mr. Sessoms and Mr. Culbreth) allegedly agreeing to
the settlement even though some of those plaintiffs asserted challenges to it.
Additionally, plaintiffs of Bagarozy vs. Harris objected to the settlement.

The settlement, however, dealt solely with the matter of the treatment provided at the
Special Treatment Unit (“STU”) under the Department of Human Services (“DHS”). The
matter of the living conditions at the STU under the Department of Corrections (“DOC”)
was not included and was specifically left by the Court (and so stated in the settlement
opinion) to be addressed upon resolution of the matter of treatment. So the court’s
approval of the settlement immediately opened the door for the living conditions to be
addressed in a timely manner.

Attorney lan Marx of Greenberg Traurig had been assigned by the Court to represent
the plaintiffs in Bagarozy vs. Harris. Accordingly, upon the Court’s approval of the
settlement in Alves vs. Ferguson, Bagarozy plaintiffs reached out to attorney Marx to
now make a timely challenge of these conditions as advised by the Court. Mr. Marx
repeatedly promised to do so. However, to this date, years later, Mr. Marx has not
acted upon his numerous verbal promises.

Finally, several years ago, Mr. Marx, agreed that he would at least submit a motion
asking the Court to assign new counsel to prosecute the condition issues on our behalf.
Again, Mr. Marx never followed through on his numerous verbal promises.
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Over the course of this period, Mr. Marx left a record of his verbal commitments on my
voice mail which is available to the Court upon request. The length of time that has
been wasted (my guess is about five [5] years) demonstrates conduct by Mr. Marx that
goes beyond negligence and borders on the verge of willful maliciousness. :

Below is a log of the phone calls by Mr. Marx that are preserved on my voice mail and
which is available to the Court by way of three party call, if needed:

Aug 10, 2015: “i’m back from the Summer, |’Il have motion our within a week.”
September 22, 2015: “I! plan to get the motion out by Oct. 3 at the very latest.”
November 6, 2015: “We moved our office to 500 Campus Drive. Motion will be out this
week.”

November 19, 2015: “I’m continuing to work on the motion. | will work on it this week
and over the weekend. It will be out before thanksgiving.”

December 8, 2015:” Motion will be out this week. Call me for update tomorrow.”
December 23, 2015:”!’ve been having trouble with a pinched nerve. Motion will be out
this week or immediately after New Year.”

January 15, 2016: Will work on motion over weekend. Will be out next week.”
February 22, 2016:"!’m feeling better. |’ll have it out this week.”

April 22, 2016: “Struggling with herniated disc. Hopefully within a week.”

Between these dates, numerous calls to Mr. Marx were never accepted or returned, and
calls to his employer at the Greenberg Traurig’s Florida Office did not result in any
action by Mr. Marx.

At this point, we have not heard from Mr. Marx since August 10, 2016, and | assert that
as of this date, no motion for new counsel and no motion addressing conditions under
DOC been submitted. This lack of action by Mr. Marx has caused us incalculable harm.

| swear that all the foregoing statements made by me are true. 1am aware that if any of
the foregoing statements made by me are willfully false, |!am subject to punishment.

Dated: October 7, 2016 febud fb gay
se

Richard Bagarozy, pro
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